     Case 8:19-cr-00061-JVS Document 1099 Filed 04/27/23 Page 1 of 2 Page ID #:26146




1
2
3
4
5
6
7
8
                               UNITED STATES DISTRICT COURT
9
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                      WESTERN DIVISION
11
      UNITED STATES OF AMERICA,                    Case SA CR 19-061-JVS
12
                  Plaintiff,                      ORDER [1098]
13
14                       v.

15    MICHAEL JOHN AVENATTI,
16                Defendant.
17
18
19          The Court has considered the Government’s Application Regarding Ancillary

20    Proceedings in this matter in order to determine the priority of competing claims made

21    against a certain Honda aircraft, registration number N227WP, aircraft serial number

22    42000029 (the “Disputed Property”).

23    //

24    //

25
26
27
28
     Case 8:19-cr-00061-JVS Document 1099 Filed 04/27/23 Page 2 of 2 Page ID #:26147




1           Good cause appearing therefor, the government’s application is GRANTED, and
2     the Court sets the following briefing schedule:
3                 All Petitioners shall file a brief by no later than May 29, 2023, setting
4                     forth each petitioner’s position as the primacy of such petitioner’s interest
5                     in the Disputed Property;
6                 Petitioners may file any reply briefing by no later than June 5, 2023; and
7                 The Court will hold a hearing on all petitions on June 12, 2023, at 9:00

8                     a.m.

9                

10
        April 27, 2023
11      DATE                                            HON. JAMES V. SELNA
                                                        UNITED STATES DISTRICT JUDGE
12
      Presented by:
13
14
         /s/ James E Dochterman
15     DAN G. BOYLE
       JAMES E. DOCHTERMAN
16     Assistant United States Attorneys
17
18
19
20
21
22
23
24
25
26
27
28
                                                    2
